Case 2:03-cv-02216-BBD-gbc Document132 Filed 06/02/05 Page 1of 11
PagelD 306

IN THE UNITED STATES DISTRICT COURT” ® Cane
FOR THE WESTERN DISTRICT OF TENNESSRE j 1) _
WESTERN DIVISION ~2 Ph 7

RGBERTE AO Paci

CLERK, U5. OST. CT.
In Re ACCREDO HEALTH, INC. WO. OF TH, MEMPHIS
SECURITIES LITIGATION, Civil Action No.: 03-2216-BP

CLASS ACTION

This Decument Relates to:

ALL ACTIONS

JOINT CASE MANAGEMENT STATEMENT
AND: - ‘RULE 16(b) SCHEDULING ORDER

The parties to the above-entitled action jointly submit this Case Management Statement
and [Proposed] Rule 16(b) Scheduling Order and request the Court to adopt it as the Case
Management Order in this case. The Joint Case Management Statement and [Proposed] Rule

16(b) Scheduling Order follows the template provided by this Court.

DESCRIPTION OF THE CASE

This is a shareholder class action brought on behalf of all persons and entities who
purchased Accredo Health, Inc. (*Accredo” or the “Company”’) securities between June 16, 2002
and April 7, 2003 (the “Class Period”), and who were allegedly damaged thereby. This action
arises from Accredo’s alleged failure to adequately reserve for the accounts receivable associated
with the Company's acquisition of the Specialty Pharmacy Services division (“SPS”) of Gentiva
Health Services, Inc. The claims against Accredo and defendants David D. Stevens and Joel R.

Kimbrough arise under Sections 10(b) of the Securities and Exchange Act of 1934 (“Section

This document entered on the docket sheat in comp! liance -l-
with Rule 58 and/or 79(a) ERCP on (2 - OS

Case 2:03-cv-02216-BBD-gbc Document132 Filed 06/02/05 Page 2 of 11
PagelD 307

10(b)”) and Rule 10b-5 promulgated thereunder. Plaintiffs also allege claims against defendants
Stevens and Kimbrough, as control persons, for violations of Section 20(a) of the Exchange Act.
Defendants deny each of the allegations. By Order dated April 11, 2005, the Court denied

defendants’ Motion to Dismiss the Consolidated Complaint.

JOINING PARTIES AND AMENDING PLEADINGS

The parties reserve the right to amend the pleadings and jom additional parties as
discovery proceeds in accordance with the Federal Rules of Civil Procedure and the Rules of this
Court. The parties have discussed and agreed to the following deadline for amending the

pleadings and joining additional parties: December 31, 2005.

RULE 26(a)(1) DISCLOSURE DEADLINE

The parties have agreed to exchange written initial disclosures in compliance with Fed.

R. Civ. P. 26(a)(1) by June 15, 2005.

DISCOVERY

The parties have discussed and agreed upon the following discovery deadlines and

litigation schedule:

Written Initial Disclosures June 15, 2005
Motion for Class Certification July 22, 2005
Opposition to Motion for Class Certification September 2, 2005
Reply to Motion for Class Certification October 3, 2005
Disclosure of Experts April 21, 2006

Case 2:03-cv-02216-BBD-gbc Document132 Filed 06/02/05 Page 3of11

PagelD 308
Factual Discovery Closes May 12, 2006
Disclosure of Expert Reports June 1, 2006
Disclosure of Rebuttal Expert Reports July 10, 2006
Expert Discovery Closes August 11, 2006

DISPOSITIVE MOTIONS AND TRIAL

The parties have discussed and agreed that following the close of factual discovery, they
will in good faith meet and confer and propose to the Court a reasonable schedule for the filing
of pretrial motions, including motions for summary judgment.

Although discovery has not commenced and the issues have not been developed as of the
submission of this scheduling order, the parties anticipate that trial will last 8-10 days. Each
party reserves the right to modify this estimate after the issues have been more fully developed.
The parties further agree to work diligently and in good faith to prepare for a trial in February

2007.

OTHER RELEVANT MATTERS

Absent good cause shown, the scheduling dates set by this order will not be modified or
extended.

The parties should conduct in-depth discovery consultations prior to filing any and all
discovery motions. All motions with the exception of motions to dismiss or motions for
summary judgment must be accompanied by a certificate of counsel verifying the parties’

inability to resolve the dispute. The proposed joint pretrial order should include any stipulated
Case 2:03-cv-02216-BBD-gbc Document132 Filed 06/02/05 Page 4of11
PagelD 309

facts, contested issues of fact and or law, list of witnesses and exhibits and should be signed by

the attorneys for all the parties.

The parties shall submit proposed jury instructions to the Court at the pre-trial
conference. Failure to present the proposed instructions may be deemed a waiver with regard to

presentations at a later date.

IT IS SO ORDERED this /gé-_ day ofC i ¢ » 2005.

UNIFIED STATES DISTRICT JUDGE
Case 2:03-cyv-02271 6-BBD-gbc Document 13? Filed 06/02/05 Page 5 of 11

UNITED STATES DISTRICT COURT? WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 132 in
case 2:03-C V-02216 was distributed by fax, mail, or direct printing on
June 6, 2005 to the parties listed.

Martin D. Chitwood

CHITWOOD HARLEY HARNES LLP
1230 Peachtree St., N.E.

2300 Promenade II

Atlanta, GA 30309

Stanley M Chernau

CHERNAU, CHAFFIN & BURNSED
424 Church St

Ste 1750

Nashville, TN 37219

William S. Lerach

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP
401 B St.

Ste. 1700

San Diego, CA 92101

George E. Barrett

BARRETT JOHNSTON & PARSLEY
217 Second Avenue North

Nashville, TN 37201--160

Marc S. Henzel

LAW OFFICES OF MARC S. HENZEL
273 Montgomery Ave.

Ste. 202

Bala Cynwyd, PA 19004

Heather Guilette Walser
JONES & DAY

51 Louisiana Avenue, N.W.
Washington, DC 20001--211

Richard A. Lockridge

LOCKRIDGE GRINDAL NAUEN, PLLP
100 Washington Ave., South

Ste. 2200

Minneapolis, MN 55401
Case 2:03-cv-02216-BBD-gbc Document132 Filed 06/02/05
PagelD 311
Timothy L. Miles

BARRETT JOHNSTON & PARSLEY
217 Second Avenue North
Nashville, TN 37201--160

B. J. Wade

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

Memphis, TN 38103

Nadeem Faruqi

FARUQI & FARUQI, LLP
320 East 39th St.

New York, NY 10016

Gary K. Smith

GARY K. SMITH & ASSOCIATES, PLLC.
100 Peabody Place

Ste. 1050

Memphis, TN 38103

Ramzi Abadou

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP
401 B St.

Ste. 1700

San Diego, CA 92101

Mare A. Topaz

SCHIFFRIN & BARROWAY
3 Bala Plaza East

Ste. 400

Bala Cynwyd, PA 19004

Douglas M McKeige

BERNSTEIN LITOWITZ BERGER & GROSSMAN
1285 Ave of the Americas

38th Floor

New York, NY 10019

Samuel H. Rudman

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP
200 Broadhollow Rd.

Ste. 406

Melville, NY 11747

Darren J Robbins

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP
401 B St.

Ste. 1700

San Diego, CA 92101

Page 6 of 11
Case 2:03-cv-02216-BBD-gbc Document132 Filed 06/02/05

PagelD 312
Trg R. Smith
LERACH COUGHLIN STOIA GELLER RUDMAN &
401 B St.
Ste. 1700

San Diego, CA 92101

Michael E. Moskovitz

MUCH SHELIST FREED DENENBERG AMENT & RUBENSTEIN, P.C.

191 N. Wacker Dr.
Ste. 1800
Chicago, IL 60606--161

Eitan Misulovin

BERNSTEIN LITOWITZ BERGER & GROSSMAN
1285 Ave of the Americas

38th Floor

New York, NY 10019

Emily C. Komlossy

GOODKIND LABATON RUDOFF & SUCHAROW
3595 Sheidan St.

Ste. 206

Hollywood, FL 33021

F. Guthrie Castle

CASTLE & ASSOCIATES
6555 Quince Rd.

Ste. 109

Memphis, TN 38119

Mel E. Lifshitz

BERNSTEIN LIEBHARD & LIFSHITZ, LLP
10 East 40th Street

New York, NY 10016

David W. Mitchell

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS LLP
401 B St

Ste 1600

San Diego, CA 92101

John H. Goselin
ALSTON & BIRD

1201 West Peachtree St.
Atlanta, GA 30309--342

Page 7 of 11
Case 2:03-cv-02216-BBD-gbc Document132 Filed 06/02/05
PagelD 313
Quitman Robins Ledyard

BOROD & KRAMER
80 Monroe Ave.

Ste. G-1

Memphis, TN 38103

Kevin Hunter Sharp
PRESTON & SHARP, P.C.
216 19th Ave.,N.
Nashville, TN 37203

Gregory M. Nespole

WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLP
270 Madison Ave.

New York, NY 10016

Lauren S. Antonino
CHITWOOD & HARLEY
1230 Peachtree St., N.E.
2900 Promenade II
Atlanta, GA 30309

David A. Thorpe

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP
A401 B St.

Ste. 1700

San Diego, CA 92101

Robert M. Roseman

SPECTOR ROSEMAN & KODROEFF, P.C.
1818 Market St.

Ste. 2500

Philadelphia, PA 19103

Amy E Amy E. Ferguson
GLANKER BROWN
One Commerce Square
Seventeenth Floor
Memphis, TN 38103

Nancy Kaboolian
ABBEY GARDY, LLP
212 East 39th St.

New York, NY 10016

Carol V. Gilden

MUCH SHELIST FREED DENENBERG AMENT & RUBENSTEIN, P.C.

191 N. Wacker Dr.
Ste. 1800
Chicago, IL 60606--161

Page 8 of 11
Case 2:03-cv-02216-BBD-gbc Document 132
PagelD 314

Ronald B. Hauben
ERNST & YOUNG

5 Times Square
New York, NY 10036--653

Gregory M. Egleston

BERNSTEIN LIEBHARD & LIFSHITZ, LLP
10 East 40th Street

New York, NY 10016

Karen M. Campbell

GARY K. SMITH & ASSOCIATES, PLLC.
100 Peabody Place

Ste. 1050

Memphis, TN 38103

Paul Kent Bramlett
BRAMLETT LAW OFFICES
P.O. Box 150734

Nashville, TN 37215--073

Shpetim Ademi

ADEMI & O'REILLY, LLP
3620 East Layton Ave.
Cudahy, WI 53110

Douglas S. Johnston

BARRETT JOHNSTON & PARSLEY
217 Second Avenue North

Nashville, TN 37201--160

Timotny A. DeLange

BERSTEINE LITOWITZ BERGER & GROSSMAN
12544 High Bluff Drive

Ste 150

San Diego, CA 92130

Mark Solomon

Filed 06/02/05

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP

A401 B St.
Ste. 1700
San Diego, CA 92101

James E. Gauch

JONES & DAY

51 Louisiana Avenue, N.W.
Washington, DC 20001--211

Page 9 of 11
Case 2:03-cv-02216-BBD-gbc Document 132
PagelD 315
Mary-Helen Perry

JONES & DAY
51 Louisiana Avenue, N.W.
Washington, DC 20001--211

Mark C. Gardy
ABBEY GARDY, LLP
212 East 39th St.

New York, NY 10016

David A. Rosenfeld

Filed 06/02/05

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP

200 Broadhollow Rd.
Ste. 406
Melville, NY 11747

Linda F Burnsed

CHERNAU, CHAFFIN & BURNSED
424 Church St

Ste 1750

Nashville, TN 37219

Saul C Saul C. Belz
GLANKLER BROWN
One Commerce Sq.
Ste. 1700

Memphis, TN 38103

Fred Taylor Isquith

WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLP
270 Madison Ave.

New York, NY 10016

Jef Feibelman

BURCH PORTER & JOHNSON
130 N. Court Avenue

Memphis, TN 38103

Steven J. Brogan

JONES & DAY

51 Louisiana Avenue, N.W.
Washington, DC 20001--211

Karen M. Hanson

LOCKRIDGE GRINDAL NAUEN, PLLP
100 Washington Ave., South

Ste. 2200

Minneapolis, MN 55401

Page 10 of 11
Case 2:03-cv-02216-BBD-gbc Document 132
PagelD 316
Dixie W. Ishee

WOOD CARLTON & ISHEE
1407 Union Ave.

Ste. 711

Memphis, TN 38103

Javier Bleichmar

BERNSTEIN LITOWITZ BERGER & GROSSMAN
1285 Ave of the Americas

38th Floor

New York, NY 10019

Guri Ademi

ADEMI & O'REILLY, LLP
3620 East Layton Ave.
Cudahy, WI 53110

Douglas F. Halyan

BURCH PORTER & JOHNSON
130 N. Court Avenue

Memphis, TN 38103

Oni A. Holley
ALSTON & BIRD

1201 West Peachtree St.
Atlanta, GA 30309--342

Tor Gronborg

Filed 06/02/05

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP

A401 B St.
Ste. 1700
San Diego, CA 92101

Erin P. McDaniel

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP

A401 B St.
Ste. 1700
San Diego, CA 92101

Peter Q. Bassett
ALSTON & BIRD

1201 West Peachtree St.
Atlanta, GA 30309--342

Honorable Bernice Donald
US DISTRICT COURT

Page 11 of 11
